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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS
OF FLORIDA, INC., et al.,

             Plaintiffs,

v.                                           Case No.: 4:21cv186-MW/MAF
                                                       4:21cv187-MW/MAF
LAUREL M. LEE, in her official                         4:21cv201-MW/MJF
capacity as Florida Secretary of                       4:21cv242-MW/MAF
State, et al.,

             Defendants,

and

NATIONAL REPUBLICAN
SENATORIAL COMMITTEE and
REPUBLICAN NATIONAL
COMMITTEE,

          Intervenor-Defendants.
___________________________________/

                OMNIBUS ORDER ON MOTIONS TO QUASH

       There are two motions to quash pending in this partially consolidated voting-

rights case. Both raise important questions about the scope and strength of various

state governmental privileges. First, seeking documents and deposition testimony,

Plaintiffs in Case Nos. 4:21cv187 and 4:21cv201 have served subpoenas on seven

members of the Florida Legislature. Although the Legislators “have largely agreed”

to produce the documents Plaintiffs seek, they move to quash the deposition
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subpoenas on legislative privilege grounds. Second, raising similar arguments, the

Executive Office of the Governor moves to quash a subpoena Plaintiffs in Case No.

4:21cv201 have served on it. Specifically, the Governor’s office claims that

legislative and executive privileges bar its subpoena, and that the limited time

Plaintiffs gave the Governor’s office to prepare imposes an undue burden. This

Court ordered Plaintiffs to file expedited responses to both motions. Now, having

considered those responses, the motions to quash, the Legislators’ reply in support

thereof, and all attachments, both motions to quash are GRANTED. 1

                                                   I

        To put the motions to quash in context, this Court provides some brief

background. Plaintiffs filed these partially consolidated cases between May and June

2021, alleging that several Florida elections laws, as amended by Senate Bill 90 (“SB

90”), violate the Constitution and federal law. Relevant here, Plaintiffs in Case Nos.

4:21cv187 and 4:21cv201 claim that SB 90 violates section 2 of the Voting Rights

Act, the Fourteenth Amendment, and the Fifteenth Amendment because the

Legislature passed it with the intent to discriminate based on race. Because the cases

raise similar issues, this Court consolidated them for discovery purposes only.




        1
           Recently, much of this Court’s attention has been consumed by an ongoing bellwether
trial in a multidistrict litigation case. Still, this Court recognizes the urgency of this matter, and is
therefore issuing this truncated order on an expedited basis.
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      Pursuing evidence of discriminatory intent, Plaintiffs in Case No. 4:21cv187

subpoenaed Senators Baxely and Boyd in late September, demanding that they sit

for depositions and produce certain categories of documents related to the

Legislature’s drafting and passage of SB 90. At the same time, Plaintiffs in Case No.

4:21cv201 served similar subpoenas on Senators Brandes, Gruters, and Passidomo,

as well as Representatives Ingoglia and Grall. Then, in early October, Plaintiffs in

Case No. 4:21cv201 subpoenaed the Governor’s office, demanding that it produce a

Rule 30(b)(6) witness for deposition on several topics related to the Governor’s

involvement in SB 90’s drafting and passage. A few days later, Plaintiffs served the

Governor’s office with an amended subpoena.

      Although not perfectly clear from the record, Plaintiffs appear to seek to

depose the Legislators about (1) the information available to the Legislators about

the potential impact of SB 90, (2) the legislative process generally, (3) the

Legislators’ decision-making process, (4) the Legislators’ interactions with third-

party groups like Heritage Action and the James Madison Institute, and (5) the

Legislator’s service on the Republican National Committee or Republican State

Leadership Committee Election Integrity Commissions.

      On the other hand, Plaintiffs seek to question the Governor’s office about (1)

the state interest that the Governor’s office contends each of SB 90’s challenged

provisions advances, (2) the Governor’s office’s statements and opinions concerning


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the conduct of the 2020 general election in Florida, (3) the success or failure of the

2020 general election in Florida, and the Governor’s office’s understanding of what

contributed to that success or failure, (4) the Governor’s office’s statements and

opinions concerning SB 90, (5) the Governor’s office’s role in drafting, discussing,

negotiating, and enacting SB 90, (6) the Governor’s office’s communications

regarding SB 90 with various enumerated entities, (7) any analysis that the

Governor’s office has conducted relating to the anticipated or actual effects of any

of SB 90’s challenged provisions on voting in Florida and any communications

involving the Governor’s office regarding the anticipated or actual effects of any of

those provisions on voting in Florida, (8) any analysis that the Governor’s office has

conducted concerning the anticipated or actual costs of implementing any of SB 90’s

challenged provisions, (9) any analysis that the Governor’s office has conducted

concerning the need for or purpose of any of SB 90’s challenged provisions, (10) the

Governor’s office’s collection and production of documents in response to a

subpoena in Case No. 4:21cv186, and (11) the Governor’s office’s communications

with various entities making up Florida’s university system concerning SB 90,

litigation involving SB 90, or expert witnesses involved in litigation about SB 90.

      After issuing the subpoenas, Plaintiffs conferred with counsel for the

Legislators and the Governor’s office. The Legislators agreed to produce the

documents Plaintiffs sought but refused to sit for depositions. The Governor’s office


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indicated that it would move to quash its subpoena in its entirety. Having reached an

impasse, both the Legislators and the Governor’s office moved to quash their

respective subpoenas.

                                          II

      Federal Rule of Civil Procedure 45 directs this Court to quash a subpoena if

the subpoena “requires [the] disclosure of privileged or other protected matter, if no

exception or waiver applies,” or if it “fails to allow a reasonable time to comply.”

Fed. R. Civ. P. 45(d)(3)(A)(i), (iii). The Legislators raise a claim of privilege, and

the Governor’s office argues both privilege and that it is unduly burdened. This

Court starts with the privilege arguments.

                                          A

       “The federal courts have the authority and duty to recognize claims of

privilege that are valid under federal common law.” In re Hubbard, 803 F.3d 1298,

1307 (11th Cir. 2015) (citing Fed. R. Evid. 501). To claim privilege in response to a

subpoena, a person must “expressly make the claim” and “describe the nature of the

withheld documents, communications, or tangible things in a manner that, without

revealing information itself privileged or protected, will enable the parties to assess

the claim.” Fed. R. Civ. P. 45(e)(2)(A)(i)–(ii). The party asserting a privilege bears

the burden to show that the privilege applies. In re Grand Jury Investigation, 842

F.2d 1223, 1225 (11th Cir. 1987). Both the Legislators and the Governor’s office


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assert legislative privilege. The Governor’s office also raises executive privilege;

namely, the deliberative process privilege. This Court begins its analysis with

legislative privilege.

                                           1

      Legislative privilege is an “important” privilege that “has deep roots in federal

common law.” Hubbard, 803 F.3d at 1307. The privilege is best understood in

conjunction with “the parallel concept of legislative immunity.” EEOC v. Wash.

Suburban Sanitary Comm’n, 631 F.3d 174, 180 (4th Cir. 2011). Legislative

immunity provides broad immunity to legislators “from arrest or civil process for

what they do or say in legislative proceedings.” Tenney v. Brandhove, 341 U.S. 367,

372 (1951). And legislative privilege furthers the policy goals behind legislative

immunity by preventing parties from using third-party discovery as an end-run

around legislative immunity—harassing legislators through burdensome discovery

requests. See Wash. Suburban, 631 F.3d at 181. Put another way, legislative

immunity shields legislators from direct liability for actions taken during legislative

proceedings; legislative privilege shields legislators from indirect liability through

the costs of litigation. See id. (explaining that legislative privilege recognizes that

“litigation’s costs do not fall on named parties alone.”).

      The motions to quash raise three unresolved issues relating to legislative

privilege. These issues are (1) the legislative privilege’s scope, (2) whether the


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privilege is absolute in civil cases, and (3), if the privilege is not absolute, when can

a party overcome it (and whether Plaintiffs have done so here).

                                            a

      The first question is whether the testimony Plaintiffs seek implicates

legislative privilege at all—i.e., what is the scope of the privilege? The Eleventh

Circuit has defined the privilege as covering “both governors’ and legislators’

actions in the proposal, formulation, and passage of legislation.” Hubbard, 803 F.3d

at 1308.

      Starting with the Legislators, Plaintiffs argue that legislative privilege extends

only to communications between legislative staff and other legislators. Thus,

Plaintiffs say, the privilege does not protect the Legislators’ communications with

third parties. The Legislators, by contrast, argue that discussions with outside groups

fall within the privilege so long as they concern the proposal, formulation, and

passage of legislation.

      To support their argument, Plaintiffs point to district courts outside this

circuit. For example, Baldus v. Brennan held that the Wisconsin “Legislature . . .

waived its legislative privilege to the extent that it relied on . . . outside experts for

consulting services.” No. 11-CV-1011 JPS-DPW, 2011 WL 6122542, at *2 (E.D.

Wis. Dec. 8, 2011). See also Favors v. Cuomo, 285 F.R.D. 187, 212 (E.D.N.Y. 2012)

(explaining    that   “communications       with   ‘knowledgeable       outsiders’—e.g.,


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lobbyists—fall outside the privilege”); League of Women Voters of Mich. v. Johnson,

No. 17-14148, 2018 WL 2335805, at *6 (E.D. Mich. May 23, 2018)

(“Communications between legislators or staff members and third parties consulted

during the redistricting process are not protected by the legislative privilege.”).

      Alternatively, as the Legislators point out, “district courts within this circuit

have concluded that the legislative privilege is not waived simply because a

legislator has communicated with third parties, if the communication was part of the

formulation of legislation.” Thompson v. Merrill, No. 2:16-cv-783-ECM, 2020 WL

2545317, at *3 (M.D. Ala. May 19, 2020). This is the better position.

      To start, this Court agrees with the Legislators and the Governor’s office that

“the maintenance of confidentiality is not the fundamental concern of the legislative

privilege.” Pulte Home Corp. v. Montgomery Cnty., Md., No. GJH-14-3955, 2017

WL 2361167, at *8 (D. Md. May 31, 2017). Instead, the privilege serves to prevent

parties from harassing legislators—or the Governor—for actions those legislators

take in their legislative capacity. And “[m]eeting with persons outside the

legislature” is “a routine and legitimate part of the modern-day legislative process.”

Almonte v. City of Long Beach, 478 F.3d 100, 107 (2d Cir. 2007). See also Bruce v.

Riddle, 631 F.2d 272, 280 (4th Cir. 1980) (observing that “[m]eeting with ‘interest’

groups, professional or amateur, regardless of their motivation, is a part and parcel

of the modern legislative procedures”). Accordingly, this Court finds that


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communications with third parties are subject to legislative privilege so long as those

communications were part of the formulation of legislation.2

       As to the Governor’s office, Plaintiffs argue and the Governor’s office

concedes that topics 2 and 3,3 on their face, do not implicate legislative privilege.

The Governor’s office, however, contends that “the only conceivable relevance of”

these topics is tied to the reasons the Governor decided to support SB 90. Thus, it

says, legislative privilege applies to these topics as well. Beyond topics 2 and 3,

Plaintiffs and the Governor’s office disagree as to whether topics 1, 7, 8, 10, or 11

implicate the legislative privilege. 4 Plaintiffs argue that topics 1, 7, and 8, are not

subject to the privilege because the Governor oversees the enforcement of SB 90,



       2
         That said, because confidentiality is not the legislative privilege’s animating concern, the
privilege would not prevent Plaintiffs from asking the third parties with which the Legislators
communicated about those communications. See ECF No. 287 (arguing Plaintiffs can get the same
information from sources other than the Governor’s office).
       3
         Topic 2 concerns the Governor’s office’s statements and opinions concerning the conduct
of the 2020 general election in Florida and topic 3 concerns the success or failure of the 2020
general election in Florida, and the Governor’s office’s understanding of what contributed to that
success or failure.
       4
          Topic 1 concerns the state interest that the Governor’s office contends each of SB 90’s
challenged provisions advances, topic 7 concerns any analysis that the Governor’s office has
conducted relating to anticipated or actual effects of any of SB 90’s challenged provisions on
voting in Florida and any communications involving the Governor’s office regarding the
anticipated or actual effects of any of those provisions on voting in Florida, and topic 8 concerns
any analysis that the Governor’s office has conducted concerning the anticipated or actual costs of
implementing any of SB 90’s challenged provisions. Topic 10, on the other hand, concerns the
Governor’s office’s collection and production of documents in response to a subpoena in Case No.
4:21cv186, and topic 11 concerns the Governor’s office’s communications with the Florida
university system concerning SB 90, litigation involving SB 90, or expert witnesses involved in
litigation over SB 90.
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and thus the Governor’s office’s communications, beliefs, and analysis of SB 90 are

relevant outside of the Governor’s legislative role. For topic 10, Plaintiffs argue that

the Governor’s office’s document production in this case has nothing to do with the

Governor’s legislative role. Finally, Plaintiffs say topic 11 targets attempts by the

Governor’s office to interfere with this litigation, and clearly does not implicate the

legislative process.

      By implication then, Plaintiffs acknowledge that the legislative privilege

covers topics 4, 5, 6, and 9. And this Court concludes that legislative privilege covers

many of the other topics discussed above. For instance, topics 2 and 3 clearly target

the Governor’s motivation in supporting SB 90 and thus implicate legislative

privilege. Likewise, topics 1, 7, and 8 are subject to the legislative privilege. Though

Plaintiffs argue that these topics are relevant because the Governor’s office enforces

SB 90, Plaintiffs have not alleged in their Amended Complaint that the Governor’s

office enforces any of the challenged provisions, nor have they named the

Governor’s office as a defendant in this case. To be sure, this is not a one-size-fits-

all analysis. In a different posture, these topics might not implicate the legislative

privilege. But here, Plaintiffs plainly seek to depose the Governor’s office regarding

the Governor’s role in drafting and passing SB 90. Accordingly, this Court concludes

that the legislative privilege covers topics 1, 7, and 8. Finally, the Governor’s office

provides no explanation as to how topics 10 and 11—which concern events


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occurring after SB 90 became law—implicate legislative privilege, and this Court

has identified none. Thus, this Court concludes that topics 10 and 11 do not implicate

legislative privilege.

      In short, as the Eleventh Circuit has explained, “inquiry into the motivation”

behind a state legislative enactment “strikes at the heart of the legislative privilege.”

Hubbard, 803 F.3d at 1310. Similarly, the Supreme Court has observed that, in cases

such as this, where legislators “might be called to the stand at trial to testify

concerning the purpose of the official action, . . . such testimony frequently will be

barred by privilege.” Arlington Heights Metro. Housing Dev. Corp., 429 U.S. 252,

268 (1977); accord Florida v. United States, 886 F. Supp. 2d 1301, 1303 (N.D. Fla.

2012). Following that logic, this Court concludes that most of the testimony

Plaintiffs seek from the Governor’s office and the Legislators is subject to the

legislative privilege.

                                           b

      But the inquiry does not end here. In opposing the motions to quash, Plaintiffs

argue that legislative privilege is qualified and must yield in important cases such as

this one. In response, the Governor’s office and the Legislators argue that, in civil

cases, their privilege is absolute.

      To be clear, neither the Governor’s office nor the Legislators contend their

privilege is without limit. Nor could they. Both the Eleventh Circuit and the Supreme


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Court have explained that “a state lawmaker’s privilege” may give way to “important

federal interests such as ‘the enforcement of federal criminal statutes.’ ” Hubbard,

803 F.3d at 1311 (quoting United States v. Gillock, 445 U.S. 360, 373 (1980)). The

question, then, is whether the exception to legislative privilege extends beyond the

circumstances identified in Gillock and Hubbard.

      This is a thorny issue. “[T]he Supreme Court has not set forth the

circumstances under which the privilege must yield to the need for a decision

maker’s testimony.” Lee v. City of Los Angeles, 908 F.3d 1175, 1187 (9th Cir. 2018).

And, as the Governor’s office and the Legislators concede, the Eleventh Circuit has

left this question open. See Hubbard, 803 F.3d at 1312; see also Am. Trucking

Ass’ns, Inc. v. Alviti, 14 F.4th 76, 88 (1st Cir. 2021) (“We need not reject altogether

the possibility that there might be a private civil case in which state legislative

immunity must be set to one side because the case turns so heavily on subjective

motive or purpose.”); Bethune-Hill v. Va. State Bd. of Elections, 114 F. Supp. 3d

323, 335 (E.D. Va. 2015) (describing the issue of “whether the state legislative

privilege is either ‘absolute’ or ‘qualified’ ” as “bedeviling the federal courts”).

      To support their argument that legislative privilege must yield in voting-rights

cases, Plaintiffs point to district court cases—typically redistricting cases—finding

that the privilege gives way in private civil cases concerning important, federally

guaranteed public rights. See, e.g., Bethune-Hill, 114 F. Supp. 3d at 337.


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      Arguing otherwise, the Governor’s office and the Legislators point to this

Court’s decision in Florida v. United States. Florida concerned litigation in the

United States District Court for the District of Columbia over the preclearance of

legislation regulating elections under section 5 of the Voting Rights Act. Florida,

886 F. Supp. 2d at 1302. Ancillary to that litigation, certain parties moved in this

Court to compel Florida state legislators to sit for depositions. Id. In response, the

legislators raised legislative privilege. Id. Rejecting the argument that legislative

privilege must give way in Voting Rights Act cases, this Court observed that “Voting

Rights Act cases are important, but so are equal-protection challenges to many other

state laws, and there is nothing unique about the issues of legislative purpose and

privilege in Voting Rights Act cases.” Id. at 1304.

      In response to this point, Plaintiffs assert that Florida only “stand[s] for the

proposition that allegations of racially discriminatory intent do not, standing alone,

overcome the legislative privilege.” ECF No. 228 at 13. This Court agrees that

merely asserting a constitutional claim is not enough to overcome the privilege. See

Alviti, 14 F.4th at 88 (explaining that “[w]ere . . . the mere assertion of a federal

claim sufficient, even one that addresses a central concern of the Framers, the

privilege would be pretty much unavailable largely whenever it is needed”). That

said, this Court also finds that some civil cases implicate federal interests that are at

least as important—if not more important—than the enforcement of federal criminal


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statutes, where the privilege undoubtedly gives way.5 So the privilege can be

overcome in an extraordinary civil case, but how should this Court decide if this case

is one of those extraordinary cases?

                                                   c

       This Court finds that it must apply a five-factor balancing test to determine

whether the legislative privilege must give way to Plaintiffs’ need for the evidence

they seek. See Bethune-Hill, 114 F. Supp. 3d at 337. The relevant factors are (1)

whether the evidence Plaintiffs seek is relevant, (2) whether other evidence is

available, (3) whether the litigation is sufficiently “serious,” (4) whether the

government is involved in the litigation, 6 and (5) whether upholding the subpoena

defeats the legislative privilege’s purpose. Id. at 338. With these factors in mind, this

Court turns back to the motions before it.

       1. The first factor is relevance. The Legislators argue that the testimony

Plaintiffs seek has little relevance because individual legislators’ motivations are not

particularly relevant to the overall legislative motive. There is some truth to this

argument. See Greater Birmingham Ministries v. Sec’y of State for State of Ala., 992


       5
         While the Legislators correctly quote Gillock as stating that the Supreme Court’s decision
in Tenney drew “the line at civil actions,” 445 U.S. at 373, Gillock also emphasized that Tenney
was a “civil action brought by a private plaintiff to vindicate private rights,” id. at 372. To hold
either of these statements definitive would be overreading Gillock. Instead, Gillock stands for
nothing more than what it says, state legislative privilege gives way in federal criminal
prosecutions.
       6
           Though, as this Court explains below, this factor is not particularly useful.
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F.3d 1299, 1324 (11th Cir. 2021) (explaining that the intent of one legislator, even

if they sponsored a bill, is of limited relevance). And as other courts have noted,

“[t]o demonstrate intentional discrimination, . . . plaintiffs need not offer direct

evidence of discriminatory intent.” Comm. for a Fair & Balanced Map v. Ill. State

Bd. of Elections, No. 11 C 5065, 2011 WL 4837508, at *3 (N.D. Ill. Oct. 12, 2011).

But just because other evidence is more relevant does not make this evidence

irrelevant. Rather, the subjective motivations of SB 90’s leading sponsors are highly

relevant to many of the issues before this Court. Thus, as to the Legislators, this

factor weighs, slightly, in favor of disclosure.

      As for the Governor’s office, this Court finds that the purpose the Governor’s

office thinks SB 90 serves, the Governor’s statements regarding the 2020 election,

and the Governor’s office’s thoughts on the success or failure of the 2020 election

(topics 1, 2, and 3) are not particularly relevant to whether the legislature passed SB

90 with discriminatory intent. Conversely, the Governor’s office’s statements and

opinions concerning SB 90, its role in drafting, discussing, negotiating, and enacting

SB 90, and its communications regarding SB 90 (topics 4, 5, and 6) are relevant to

determining the Governor’s subjective motivations in supporting SB 90, and are thus

somewhat, but not especially, relevant to Plaintiffs’ claims. Finally, analyses

regarding SB 90’s anticipated costs, purpose, and effects (topics 7, 8, and 9) are

highly relevant to Plaintiffs’ claims. Accordingly, as far as the Governor’s office is


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concerned, this factor weighs in favor of disclosure as to topics 7, 8, and 9, is a wash

on topics 4, 5, and 6, and weighs against disclosure for topics 1, 2, and 3.

      2. The Second factor is the availability of other evidence. On this factor, the

Legislators argue that “there is other, more relevant evidence available to Plaintiffs.”

ECF No. 257 at 17; see also ECF No. 287 (making a similar argument on behalf of

the Governor’s office). For example, the Legislators have agreed to produce the

documents Plaintiffs requested. The Legislators also argue that Plaintiffs can get

much of the information they seek from other parties, such as the Heritage

Foundation. The Governor’s office similarly argues that Plaintiffs can obtain much

of the evidence they seek from other parties in this action, as well as public records

requests.

      But this Court is not convinced. The Heritage Foundation has been nothing if

not recalcitrant in the face of Plaintiffs’ efforts to obtain information. And the

Governor’s office alone will possess much of the evidence Plaintiffs seek from it.

On balance, given that the Legislators have agreed to produce documents, this factor

weighs slightly in favor of quashing the subpoenas as to them. For the Governor, on

the other hand, it weighs slightly in favor of denying the motion to quash.

      3. The third issue is the litigation’s seriousness. All litigation is serious. But,

as the Legislators acknowledge, voting-rights litigation is especially serious.

Nonetheless, the Legislators contend that this case still falls short of the seriousness


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of, say, the federal criminal prosecution addressed in Gillock. Citing Florida, the

Governor makes a similar argument. While a close call, this Court finds that, as other

courts have ably stated, “[v]oting rights cases, although brought by private parties,

seek to vindicate public rights. In this respect, they are akin to criminal prosecutions.

Thus, much as in Gillock, ‘recognition of an evidentiary privilege for state legislators

for their legislative acts would impair the legitimate interest of the Federal

government.’ ” Comm. for a Fair & Balanced Map, 2011 WL 4837508, at *6

(quoting Gillock, 445 U .S. at 373). Thus, this factor weighs in favor of disclosure.

      4. The fourth factor is the government’s involvement in the litigation. As the

Legislators point out, this factor—drawn, as all these factors are, from deliberative

process privilege case law—is inapt in the legislative privilege context. Of course

the state is involved, there would be no point in deposing the Governor’s office or

the Legislators if it were not. Accordingly, this factor is a wash.

       5. The final factor is the legislative privilege’s purpose. The Legislators argue

that “the privilege is necessary because it ‘shields [legislators] from political wars

of attrition in which their opponents try to defeat them through litigation rather than

at the ballot box.’ ” ECF No. 257 at 19–20 (quoting Wash. Suburban, 631 F.3d at

181). This Court agrees. And in addition, “the need to encourage frank and honest

discussion among lawmakers favors nondisclosure.” Comm. for a Fair & Balanced

Map, 2011 WL 4837508, at *8. To allow Plaintiffs to pry into the most sensitive


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aspects of the legislative process would “chill legislative debate” and “discourage

earnest discussion within governmental walls.” Id. at *9.

      For example, many cases have compared asking legislators about their

motivations in supporting legislation to questioning judges about judicial decisions.

See In re Grand Jury, 821 F.2d 946, 957 (3d Cir. 1987) (“[T]he legislator’s need for

confidentiality is similar to the need for confidentiality in communications between

judges . . . .”); Florida, 886 F. Supp. 2d at 1303 (“Legislators ought not call unwilling

judges to testify at legislative hearings about the reasons for specific judicial

decisions, and courts ought not compel unwilling legislators to testify about the

reasons for specific legislative votes.”). Thus, this factor weighs heavily in favor of

non-disclosure, as to both the Legislators and the Governor’s office.

      So the factors are largely mixed; but this Court must strike some balance. One

way to do so is “[b]y limiting privileged documents [or testimony] to those that

contain opinions, recommendations or advice” and allowing the production of

“documents containing factually based information used in the decision-making

process or disseminated to legislators or committees, such as committee reports and

minutes of meetings.” Comm. for a Fair & Balanced Map, 2011 WL 4837508, at *9

(cleaned up). This balance gives Plaintiffs some of the most relevant evidence under

Arlington Heights while at the same time limiting the most egregious intrusions into

the legislative process. In other words, this Court finds that Plaintiffs are entitled to


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“the materials and information available [to the Legislature] at the time a decision

was made” and nothing more. ACORN v. Cnty. of Nassau, No. CV05-

2301(JFB)(WDW), 2007 WL 2815810, at *3 (E.D.N.Y. Sept. 25, 2007). Because

the Legislators are already providing that information in the form of document

production, their motion to quash is GRANTED.

      For the Governor’s office, however, the inquiry is more complicated. Topics

1, 2, and 3, as explained above, are not particularly relevant, and on balance do not

justify piercing the legislative privilege. Topics 4, 5, and 6, on the other hand, strike

directly at the heart of the privilege, and likewise tip towards non-disclosure. Next,

to the extent topics 7, 8, and 9 concern what the Governor’s office considered when

SB 90 was before the Legislature, this Court is hard pressed to see why they are so

relevant as to justify breaching the legislative privilege, given that the Governor’s

intent is not dispositive. Accordingly, the Governor’s office’s motion to quash is

GRANTED in part as to topics 1 through 9.

                                           B

      Alas, the inquiry does not end here. This Court must still address topics 10

and 11 in Plaintiffs’ subpoena to the Governor’s office. To recap, topic 10 addresses

the Governor’s response to a subpoena in Case No. 4:21cv186 and topic 11 addresses

communications between the Governor’s office and the Florida university system

regarding experts in this case. Plaintiffs assert, and nobody denies, that the


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University of Florida has blocked potential experts from agreeing to testify for

Plaintiffs. Plaintiffs would like to explore the Governor’s office’s involvement in

that decision.

      As explained above, these topics do not implicate legislative privilege. The

Governor’s office also argues that these topics implicate the deliberative process

privilege. They do not. That privilege covers documents “prepared in order to assist

an agency decision maker in arriving at his [or her] decision.” Miccosukee Tribe of

Indians of Fla. v. United States, 516 F.3d 1235, 1263 (11th Cir. 2008). Clearly, that

does not cover discovery in this case or communications with Florida’s universities

regarding expert witnesses.

      That leaves the Governor’s office’s undue burden arguments. This Court

agrees that Plaintiffs’ subpoena imposes an undue burden, but not for the reason the

Governor’s office argues. Rule 45 protects “subpoena recipient[s] by requiring the

issuer to ‘take reasonable steps to avoid imposing undue burden or expense on a

person subject to the subpoena.’ ” Jordan v. Comm’r, Miss. Dep’t of Corr., 947 F.3d

1322, 1329 (11th Cir. 2020) (quoting Fed. R. Civ. P. 45(d)(1)). Further, “it is

generally accepted that the scope of discovery allowed under Rule 45 is limited by

the relevancy requirement of the federal discovery rules.” Id. “Thus, a subpoena

issued under Rule 45 should be quashed to the extent it seeks irrelevant

information.” Id.


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       In turn, the Federal Rules of Civil Procedure provide that “[p]arties may

obtain discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense.” Fed. R. Civ. P. 26(b)(1). And the Federal Rules of Evidence

provide that relevant information must have a “tendency to make a [consequential]

fact more or less probable.” Fed. R. Evid. 401. The question here is whether the

manner in which the Governor’s office has conducted discovery or whether the

Governor’s office has communicated with the Florida university system regarding

experts in this case tends to make any fact supporting a claim or defense more likely.

The answer is no.

       Whether the Governor’s office played a role in the University of Florida’s

decision to prohibit professors from serving as witnesses in this case—or whether

the University’s denial was simply vorauseilender Gehorsam—does not tend to

make any fact supporting the parties’ claims or defenses more likely. Although this

case is about the alleged degradation of our core democratic values, Plaintiffs seek

to explore allegations of the degradation of different, though no less important,

democratic values that are not at issue before this Court.7 The Governor’s office’s

motion to quash is GRANTED.


       7
          To be clear, this Court is not saying there is no issue here, only that any potential issue
raised by the University’s actions are not before this Court at this time. For example, this Court
might get involved if Plaintiffs’ allegations lead to the initiation of other civil claims or cases, or
if a witness is prevented from appearing pursuant to a valid subpoena. See 42 U.S.C. § 1985(a)(2)
(creating civil liability for conspiring to “deter, by force, intimidation, or threat, any party or
witness in any court of the United States from attending such court, or from testifying to any matter
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       Accordingly,

       IT IS SO ORDERED:

           1. The Legislators’ mirroring motions to quash, ECF No. 257 in Case No.

               4:21cv187 and ECF No. 217 in Case No. 4:21cv201, are GRANTED.

           2. The Governor’s office’s mirroring motions to quash, ECF No. 287 in

               Case No. 4:21cv186 and ECF No. 220 in Case No. 4:21cv201, are

               GRANTED.

           3. Given this Court’s order quashing the subpoenas at issue, Plaintiffs’

               mirroring motions for leave to depose non-parties after the close of

               discovery, ECF No. 265 in Case No. 4:21cv187 and ECF No. 224 in

               Case No. 4:21cv201, are DENIED as moot. By separate order, this

               Court extended discovery in Case No. 4:21cv187 only for the purpose

               of conducting a Rule 30(b)(6) deposition of non-party Heritage Action.

               ECF No. 273.

       SO ORDERED on November 4, 2021.
                                              s/Mark E. Walker
                                              Chief United States District Judge



pending therein, freely, fully, and truthfully”). This issue could also come before this Court if the
United States Attorney’s Office decides to pursue its own investigation and initiate criminal
proceedings. See 18 U.S.C. § 1512 (making it a felony to “knowingly use[] intimidation, threaten[],
or [to] corruptly persuade[] another person” to refrain from testifying in an official proceeding).
However, because such allegations are not at issue before me now, this Court declines to allow
Plaintiffs to turn over these particular rocks.
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